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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0225V
                                         UNPUBLISHED


    JOSEPH MIRELES,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: April 1, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for Respondent.

                                     RULING ON ENTITLEMENT1

      On February 8, 2019, Joseph Mireles filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that as a result of an influenza (“flu”) vaccine received
on October 11, 2017, he suffered a right shoulder injury related to vaccine
administration (“SIRVA”). Petition at Preamble. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On April 1, 2020, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states “that petitioner has satisfied the criteria set forth in the

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Vaccine Injury Table and the Qualifications and Aids to Interpretation for a SIRVA injury:
petitioner had no history of pain, inflammation, or dysfunction in his left shoulder; his
pain and reduced range of motion occurred within 48 hours of receipt of an
intramuscular vaccination; his symptoms were limited to the shoulder in which the
vaccine was administered; and no other condition or abnormality was identified to
explain his symptoms.” Id. at 5-6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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